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           EXHIBIT 3
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

                                     §
  LONE STAR TECHNOLOGICAL            §
  INNOVATIONS, LLC,                  §
                                     §    Civil Action No. 6:19-CV-00059-RWS
            Plaintiff,               §
                                     §    LEAD CASE
       v.                            §
                                     §
  ASUSTEK COMPUTER INC.,             §
                                     §
            Defendant.               §    JURY TRIAL DEMANDED
                                     §
                                     §
                                     §
                                     §
        EXPERT REPORT OF ALFRED D. DUCHARME, PhD. REGARDING
                   INFRINGEMENT OF U.S. PATENT 6,724,435:




              ASUSTeK Computer Inc. (“ASUS”)
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            is proven by virtue of the fact that one could change the saturation or hue of blue without

            affecting the other colors as confirmed from my testing of the ASUS display. Simply put

            there is no other way for the Accused Devices to operate other than identifying the input

            image pixels and their associated input data including color values, to be changed. 15

  63.       Second, the Accused Devices must use arithmetic and logical operations to identify those

            input image pixels that qualify for change. I am aware that all of the Accused Devices

            have a microprocessor necessary to achieve functionality.

                                                                                                               And,

            because microprocessors necessarily perform calculations and functions using arithmetic

            and logical operations—math and logic, basic arithmetic and compare functions— the

            Accused Devices therefore satisfy this claim limitation.

  64.       Further, each of the Accused Devices also use software instructions executing on the

            processor chip to recognize the user's selection of color adjustments wherein pursuant to

            such selection, the software instructions generally transform the measured color space

            (i.e. the color points as measured on the input video stream) to the desired color space

            (i.e. the output according to the custom color mode). It is well understood that a processor

            executing such software instructions necessarily comprises one or more arithmetic and

            logical units (ALUs) and a control unit (CU). An ALU is responsible for arithmetic

            operations (e.g. addition, subtraction, etc.) and and for logical operations (e.g. such as

            and, or, etc.) A. Processors routinely use these arithmetic and logical operations to

            transform data stored in registers. Therefore, it is my opinion that in converting the color


 15
    To the extent that the ASUS Accused Products involve projector technology, my opinions do not change. Indeed,
 whether the video is rendered by a video screen or projected by a projector does not change my opinions, because a
 projectors also operate with pixels and pixel values despite the fact that such devices ultimately project an image.
 16
    I have provided a “tear down” to this report shown as Exhibit 3 and incorporated by reference.

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            space from measured color space to desired color space - and selectively adjusting the

            colors represented by input image pixels , the processor in each respective Accused

            Device necessarily use arithmetic and logical operations for identifying the image pixels

            in the input image , recognizing the color point of the pixel in accordance with the

            measured color space and for transforming the color point of the pixel to one in

            accordance with the desired color space .

  65.       Importantly, the claim does not require a specific method of achieving changes to hue or

            saturation of an individual color in digital video, just that the identification of the pixels

            to be changed. Further it is not necessary for me to analyse the source code in the

            Accused Device because based on my knowledge, training and experience in the field, I

            am of the opinion that it is certainly beyond a preponderance that display processors

            operate by using arithmetic and logical operations by their nature. Thus, in my opinion,

            this claim limitation is satisfied. Additionally, if the Accused Devices do not literally

            infringe this recited step, then they infringe under the doctrine of equivalents. The

            Accused Device is capable of achieving substantially similar results using insubstantially

            different operations. For example, the Accused Devices are capable and do achieve

            identifying the pixel values with the individual color to be changed and applying the

            change to either hue or saturation. Those values do change accordingly, as confirmed

            and explained by my testing of the Accused Products. Therefore, even if the Accused

            Devices, for example, uses a matrix or LUT transform, it still achieves substantially

            similar results with insubstantially different operations. 17




 17
   To the extent additional discovery (e.g. ASUS depositions, source code, etc.) is subsequently produced,
 discovered or made available, I reserve the right to supplement this report and my opinions contained herein.

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